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         ORDERED in the Southern District of Florida on April 28, 2023.




                                                                      Erik P. Kimball, Judge
                                                                      United States Bankruptcy Court
_____________________________________________________________________________
                         UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION
                                         www.flsb.uscourts.gov
         _____________________________________
                                                   )
         In re:                                    )
                                                   ) Chapter 11
         Banyan Cay Resort & Golf, LLC, et al.1    )
                                                   ) Case No. 23-12386
                                                   )
                            Debtors.               ) (Jointly Administered)
         _____________________________________ )

                  ORDER GRANTING MOTION FOR ENTRY OF AN ORDER
            (A) AUTHORIZING THE DEBTORS TO ASSUME PURCHASE AND SALE
            AGREEMENT WITH BANYAN CAY ESTATES, LLC, (B) COMPROMISING
          CONTROVERSIES THEREBETWEEN, AND (C) GRANTING RELATED RELIEF


                          THIS MATTER came before the Court on April 26, 2023 upon the above-

         captioned debtors and debtors in possession’s (the “Debtors’”) Motion for Entry of an Order

         (A) Authorizing the Debtors to Assume Purchase and Sale Agreement with Banyan Cay Estates,

         LLC, (B) Compromising Controversy Therebetween, and (C) Granting Related Relief [Docket


          1
              The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan
              Cay Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay
              Maintenance, LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.
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No. 97] (the “Motion”);2 and the Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the Motion

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found

that the relief requested in the Motion is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest; and the Court having found that the Debtors’ notice of

the Motion and opportunity for a hearing on the Motion was appropriate under the

circumstances and no other notice need be provided; and the Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before the

Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all

of the proceedings had before the Court; and after due deliberation and sufficient cause

appearing therefor,

           1.       The Motion is GRANTED.

           2.       The Debtors are authorized to assume the Agreement, and the terms of the

Postpetition Amendment, to the extent the same compromise controversies between the Parties,

are hereby approved.

           3.       The Debtors shall not be required to pay any cure costs in connection with the

assumption of the Agreement.

           4.       Assumption of the Agreement and the entry into the Postpetition Amendment,

except as specifically set forth therein, does not represent a waiver by the Debtors of any rights,




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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

                                                           2
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claims, or defenses in connection with or arising under the Agreement or any other executory

contract or unexpired lease of the Debtors.

       5.      Nothing relating to the Motion or this Order, will impair, prejudice, waive, or

otherwise affect the rights of the Debtors and their estate, subject to appropriate notice and a

hearing and this Court’s approval unless otherwise agreed to by the parties, to assign the

Agreement pursuant to, and in accordance with, the requirements of section 365 of the Bankruptcy

Code. Such assignment, if pursued, may be effectuated through a chapter 11 plan and confirmation

order or separate motion.

       6.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       7.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

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Submitted by:
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Attorney Jessey J. Krehl, Esq. is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF pursuant to applicable rules.




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